
703 S.E.2d 735 (2010)
STATE of North Carolina
v.
Dominique Maurice ARTHUR.
No. 291A10.
Supreme Court of North Carolina.
November 4, 2010.
John Keating Wiles, Raleigh, for Dominique Maurice Arthur.
Tina A. Krasner, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 20th of July 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 4th of November 2010."
